              Case 23-10001-BFK                        Doc         Filed 03/04/25 Entered 03/04/25 10:08:54                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 5
Debtor 1                 CANDACE R HOPKINS
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Virginia
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             23­10001­BFK
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                 Court claim no. (if known): _______________________
 Virginia Housing Development Authority




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            04/01/2025
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             1053.85
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      5 ____
                                                                    ____ 3 ____
                                                                            5 ____
                                                                                6

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           408.98
                Current escrow payment: $ _________________                                                                       411.45
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            CANDACE R HOPKINS                                                                    23­10001­BFK
      Case 23-10001-BFK             Doc Filed        03/04/25 Entered 03/04/25
            ________________________________________________________
      Debtor 1
            First Name    Middle Name        Last Name
                                                                          Case number (if10:08:54           Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 5
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Onya Adams
      ______________________________________________________________
      Signature
                                                                                      02/28/2025
                                                                                Date _______________




 Print:______________________________________________________________
        Onya Adams                                                               Bankruptcy Officer
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Virginia Housing Development Authority
         ____________________________________________________________

 Address    601 S. Belvidere Street
            _____________________________________________________________
            Number                  Street

            P.O. Box 4627
            _____________________________________________________________
            Address 2

             Richmond                                VA      23220
            _____________________________________________________________
              City                                      State        ZIP Code



                     804-343-5766                                                Onya.Adams@virginiahousing.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
           Case 23-10001-BFK
                     UNITED Doc Filed 03/04/25 Entered 03/04/25 10:08:54 Desc Main
                            STATES
                                DocumentBANKRUPTCY
                                              Page 3 of 5      COURT
                                                      Eastern District of Virginia

                                                  Chapter     13 No. 23-10001-BFK

                                                  Judge: Chief Judge Brian F. Kenney
In re:
CANDACE R HOPKINS

                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of this Notice of Mortgage Payment Change, including all attachments, is being served on
or before March 03, 2025 via filing with the US Bankruptcy Court's CM ECF system and/or by mailing a copy of this document by
U.S. Postal Service First Class Mail Postage Prepaid.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid.
                                   CANDACE R HOPKINS
                                   4653 HUMMINGBIRD LN

                                   FAIRFAX VA 22033


                                   By U.S. Postal Service First Class Mail Postage Prepaid.
                                   N/A




Debtor’s Attorney:                 By ECF
                                   Daniel M. Press
                                   Chung & Press, P.C.
                                   6718 Whittier Ave
                                   Suite 200
                                   McLean VA 22101


                                   By ECF
                                   N/A




Trustee:                           By ECF
                                   Thomas P. Gorman
                                   Thomas P. Gorman, Chapter 13 Trustee
                                   1414 Prince St.
                                   Ste. 202
                                   Alexandria VA 22314

U.S Trustee:                       By ECF
                                   Matthew W. Cheney
                                   Office of the US Trustee, Region 4-N
                                   200 Granby Street, Room 625

                                   Norfolk VA 23510


                                                                  _______________________________________________
                                                                  /s/Onya Adams
                                                                  Bankruptcy Officer
                                                                  Virginia Housing Development Authority
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                          Document      Page 4 of 5
              Case 23-10001-BFK             Doc      Filed 03/04/25 Entered 03/04/25 10:08:54                    Desc Main
Projections for the Coming Year
                                                     Document      Page 5 of 5
The following is the projection of activity in your escrow account from 04/2025 through 03/ 2026. Projected payments from escrow
are based on the last insurance and property tax bill Virginia Housing received, or information provided to us by your settlement agent or
local tax authority. The required Escrow Account Balance displays the amount that must be on hand as specified by Federal law, State law and
your mortgage documents, and may include a cushion of up to 1/6th of your Annual Disbursements.
 Month/Year           Projected Payments Projected Disbursements             Description                          Escrow Balance
                              (+)                   (-)                                                   Projected            Required
                                                                        Beginning Balance                 $2,206.02              $2,468.70
 April                      411.45                                                                         2,617.47               2,880.15
 May                        411.45                                                                         3,028.92               3,291.60
 June                       411.45                                                                         3,440.37               3,703.05
 July                       411.45                   2,468.70           COUNTY TAX                         1,383.12               1,645.80
 August                     411.45                                                                         1,794.57               2,057.25
 September                  411.45                                                                         2,206.02               2,468.70
 October                    411.45                                                                         2,617.47               2,880.15
 November                   411.45                   2,468.70           COUNTY TAX                           560.22                 822.90
 December                   411.45                                                                           971.67               1,234.35
 January                    411.45                                                                         1,383.12               1,645.80
 February                   411.45                                                                         1,794.57               2,057.25
 March                      411.45                                                                         2,206.02               2,468.70


*Escrow lowest balance (cushion): Under Federal Law your escrow lowest balance should not exceed 1/6 (no more than 2 months) of the
total amount of the projected escrow payments, unless your mortgage contract specifies a lower amount.

The projection lowest balance in your escrow account as of 04/01/25 will be $560.22. The allowable lowest balance in your escrow account
should be $822.90, which is equal to no more than 2 months of projected payments for Insurance and Property taxes. This means you have a
surplus of $665.07.


Escrow Account History for the Prior Period
This statement displays actual activity as it occurred in your escrow account during that period. If you have received Account Projections with
a prior analysis, they are included here again for comparison.

                       Payments (+)                    Disbursements (-)                                             Escrow Balance
Month/Year        Projected       Actual            Projected      Actual                  Description            Projected     Actual
                                                                                       Beginning Balance            $2,453.83    $1,043.01
April                 408.98           402.34 *                                                                      2,862.81     1,445.35
May                   408.98           402.34 *                                                                      3,271.79     1,847.69
June                  408.98         1,614.92 *                          2,468.71 *    COUNTY TAX                    3,680.77       993.90
July                  408.98           408.98          2,453.86                   *    COUNTY TAX                    1,635.89     1,402.88
August                408.98                  *                                                                      2,044.87     1,402.88
September             408.98           408.98                                                                        2,453.85     1,811.86
October               408.98                  *                          2,468.70 *    COUNTY TAX                    2,862.83       656.84-
November              408.98           408.98          2,453.86                   *    COUNTY TAX                      817.95       247.86-
December              408.98                  *                                                                      1,226.93       247.86-
January               408.98                  *                                                                      1,635.91       247.86-
February              408.98         2,044.90 E                                   E                                  2,044.89     1,797.04
March                 408.98           408.98 E                                   E                                  2,453.87     2,206.02

E- Indicates scheduled activity that has not occurred yet but is scheduled to as shown
*- Indicates a difference between actual activity and projected activity either in the amount or date

Your monthly mortgage payment for the prior period was $1,051.38, of that $408.98 was applied to escrow.


Projected & Actual Payment Differences
The differences between projected and actual payments to and from your escrow account may create a shortage or a surplus in your account.
The most common reasons for differences between your projected escrow lowest balance and the required lowest balance is due to change
in real estate taxes and insurance.




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